This act is only directory. The intent of it was to exclude suitors from the petit jury, from an apprehension lest, in the course of the term, such persons might combine mutually to serve each other. This is not to be apprehended in the case of a grand juror, who has it not in his power to render a quid pro quo in the same way, should he be ever so much inclined. This act is as well directory to the Superior as to the county courts. If the county court ought not, knowingly, to nominate suitors for jurors, neither ought this Court knowingly to receive them as petit jurors when sent. The intent of the act is that they shall be excluded, and so far as the view of this act extends, the Superior Court will not suffer its object to be eluded. Upon this ground, the Court proceeded in the spring circuit of 1795.
Et per WILLIAMS, J. That practice was well begun, and I do not know why we have not continued it.
The reasons were overruled.
Cited: S. v. Seaborn, 15 N.C. 311.